        Case 1:24-cv-02639-LJL            Document 51        Filed 07/09/24       Page 1 of 7



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ADSTRA, LLC,

                          Plaintiff,                   Case No.: 1:24-cv-02639-LJL
         v.
                                                       PROTECTIVE ORDER
 KINESSO, LLC and ACXIOM, LLC,

                          Defendants.


LEWIS J. LIMAN, United States District Judge:

       WHEREAS all of the parties to this action (collectively the “Parties” and individually a
“Party”) request that this Court issue a protective order pursuant to Federal Rule of Civil Procedure
26(c) to protect the confidentiality of certain nonpublic and confidential material that will be
exchanged pursuant to and during the course of discovery in this case;
        WHEREAS, the Parties, through counsel, agree to the following terms;
        WHEREAS, the Parties acknowledge that this Protective Order does not confer blanket
protections on all disclosures or responses to discovery and that the protection it affords only
extends to the limited information or items that are entitled, under the applicable legal principles,
to confidential treatment;
        WHEREAS, the Parties further acknowledge that this Protective Order does not create
entitlement to file confidential information under seal; and
        WHEREAS, in light of these acknowledgements, and based on the representations of the
Parties that discovery in this case will involve confidential documents or information the public
disclosure of which will cause harm to the producing party and/or third party to whom a duty of
confidentiality is owed, and to protect against injury caused by dissemination of confidential
documents and information, this Court finds good cause for issuance of an appropriately tailored
confidentiality order governing the pretrial phase of this action;
       IT IS HEREBY ORDERED that any person subject to this Protective Order—including
without limitation the parties to this action, their representatives, agents, experts and consultants, all
third parties providing discovery in this action, and all other interested persons with actual or
constructive notice of this Protective Order—shall adhere to the following terms:

  1. As used in this Protective Order, these terms have the following meanings:

              a. The term “Confidential Information” means documents or information containing
                 confidential or proprietary business, technical, personal, or financial information;
                 commercially or competitively sensitive information, including confidential
                                                   1
     Case 1:24-cv-02639-LJL          Document 51         Filed 07/09/24      Page 2 of 7



            research or development information; and/or trade secrets. Confidential
            Information may include documents or things produced in this action (during
            formal discovery or otherwise), information produced by non-parties, responses to
            discovery requests, and information or items disclosed during depositions, hearings,
            or at trial.

        b. The term “producing party” means any party or non-party who produces or supplies
           information, testimony, documents, or other materials used in this action;

        c. “Confidential – Attorneys’ Eyes Only” documents are the subset of confidential
           documents designated as further explained in Paragraph 5;

        d. The term “documents” means all materials within the scope of Fed. R. Civ. 34;

2. By identifying a document as “Confidential,” a party may designate any document, including
   interrogatory response, other discovery response, and/or transcript (or testimony before the
   transcript is rendered), that it, in good faith, contends constitutes or contains trade secret or
   other Confidential Information.

3. All Confidential Information, along with the information contained in underlying documents,
   shall be used solely for the purpose of this action, and no person receiving such documents
   shall, directly or indirectly, transfer, disclose, or communicate in any way the contents of the
   documents to any person other than those specified in Paragraphs 4 and 5. Prohibited
   purposes include, but are not limited to, use for competitive purposes or the prosecution of
   additional litigation or other adversary proceeding.

4. Access to any Confidential Information shall be limited to:

       a. The Court and its personnel;

       b. Persons shown on the face of the document or in the document metadata to have
          authored, received, or to be the custodian of the document; provided, however, that
          such person(s) shall only be shown the document but not provided a copy to retain;

       c. Court reporters, videographers, or any other audio-visual technicians or specialists
          employed/used to preserve, prepare or present testimony or other evidence, to the
          extent that Confidential Information is disclosed at a deposition or court session which
          they are transcribing;

       d. All counsel of record in this matter and their assistants or paralegals to whom it is
          reasonably necessary to disclose the information for this litigation;

       e. In-house attorneys and their assistants or paralegals to whom it is reasonably
          necessary to disclose the information for this litigation;

       f. Officers, directors, and employees of either party who provide actual assistance in the
          conduct of the litigation in which the information is disclosed, but only to the extent
                                               2
     Case 1:24-cv-02639-LJL           Document 51         Filed 07/09/24      Page 3 of 7



           reasonably necessary to allow them to provide that assistance;

       g. Outside independent persons (i.e., persons not currently employed by or otherwise
          affiliated with any party) who are retained by written agreement by a party or its
          attorneys (1) to furnish technical or expert witness services for purposes of this action,
          or (2) to provide assistance as litigation consultants, electronic discovery consultants,
          jury consultants, mock jurors or focus group members for purposes of this action, but
          only to the extent reasonably necessary to enable such outside independent persons to
          provide assistance and contingent on said persons agreeing in writing to the terms of
          this Protective Order.

       h. The list of persons to whom Confidential Information may be disclosed identified in
          this Paragraph 4 may be expanded or modified by mutual agreement in writing signed
          by counsel for the parties to this action without the necessity of modifying this
          Stipulation and Protective Order.

5. The parties shall have the right to further designate Confidential Information or portions
   thereof as “Confidential – Attorneys’ Eyes Only” when the producing party, in good faith,
   believes that the information is Confidential and disclosure to certain persons in Paragraph 4
   would likely cause economic harm or significant competitive disadvantage to the producing
   party. Disclosure of such information shall be limited to the persons designated in Paragraphs
   4(a), (b), (c), (d), (e), (g) and, as applicable, (h). The parties expressly reserve rights to seek
   relief precluding in-house counsel and their staff from accessing certain “Confidential –
   Attorneys’ Eyes Only” information.

6. Prior to any disclosure of to any disclosure of any Confidential Information to any person
   referred to in subparagraphs 4(a), 4(c) or 4(g) above, such person shall be provided by counsel
   with a copy of this Protective Order and shall sign a Non-Disclosure Agreement in the form
   annexed as an Exhibit hereto stating that that person has read this Protective Order and agrees
   to be bound by its terms. Said counsel shall retain each signed Non-Disclosure Agreement,
   hold it in escrow, and produce it to opposing counsel either prior to such person being
   permitted to testify (at deposition or trial) or at the conclusion of the case, whichever comes
   first.

7. Any person subject to this Protective Order who receives from any other person subject to
   this Protective Order any Confidential Information shall not disclose such Confidential
   Information to anyone else except as expressly permitted hereunder.

8. With respect to the Confidential portion of any document other than deposition transcripts and
   exhibits, the producing party or that party’s counsel may designate such portion as
   “Confidential” by: (a) stamping or otherwise clearly marking as “Confidential” the protected
   portion in a manner that will not interfere with legibility or audibility; and (b) producing for
   future public use another copy of said document with the confidential information redacted.

9. With respect to deposition transcripts, a producing party or that party’s counsel may designate
   such portion as Confidential either by (a) indicating on the record during the deposition that
   a question calls for Confidential Information, in which case the reporter will bind the
                                                3
     Case 1:24-cv-02639-LJL           Document 51        Filed 07/09/24      Page 4 of 7



   transcript of the designated testimony (consisting of question and answer) in a separate
   volume and mark it as “Confidential Information Governed by Protective Order”; or (b)
   notifying the reporter and all counsel of record, in writing, within 30 days after a deposition
   has concluded, of the specific pages and lines of the transcript and/or the specific exhibits
   that are to be designated Confidential, in which case all counsel receiving the transcript will
   be responsible for marking the copies of the designated transcript or exhibit (as the case may
   be), in their possession or under their control as directed by the producing party or that party’s
   counsel by the reporter. During the 30-day period following the conclusion of a deposition,
   the entire deposition transcript will be treated as if it had been designated Confidential.

10. If at any time prior to the trial of this action, a producing party realizes that some portion(s)
    of a document that she, he, or it had previously produced without limitation should be
    designated as Confidential, she, he, or it may so designate by so apprising all prior recipients
    of the document in writing, and thereafter such designated portion(s) of the document will
    thereafter be deemed to be and treated as Confidential under the terms of this Protective
    Order.

11. Any Party who objects to any designation of confidentiality may at any time prior to the trial
    of this action serve upon counsel for the designating party a written notice stating with
    particularity the grounds of the objection. If the Parties cannot reach agreement promptly,
    counsel for all Parties will address their dispute to this Court in accordance with Paragraph
    1(B) of this Court’s Individual Practices in Civil Cases.

12. A Party may be requested to produce Confidential Information that is subject to contractual
    or other obligations of confidentiality owed to a third party. Within two business days of
    receiving the request, the receiving Party subject to such obligation shall inform the third
    party of the request and that the third party may seek a protective order or other relief from
    this Court. If neither the third party nor the receiving Party seeks a protective order or other
    relief from this Court within 21 days of that notice, the receiving Party shall produce the
    information responsive to the discovery request but may affix the appropriate controlling
    designation.

13. Recipients of Confidential Information under this Protective Order may use such material
    solely for the prosecution and defense of this action and any appeals thereto, and specifically
    (and by way of example and not limitations) may not use the Confidential Information for
    any business, commercial, or competitive purpose. Nothing contained in this Protective
    Order, however, will affect or restrict the rights of any person with respect to its own
    documents or information produced in this action. Nor does anything contained in this
    Protective Order limit or restrict the rights of any person to use or disclose information or
    material obtained independently from and not through or pursuant to the Federal Rules of
    Civil Procedure.

14. Nothing in this Protective Order will prevent any person subject to it from producing any
    Confidential Information in its possession in response to a lawful subpoena or other
    compulsory process, or if required to produce by law or by any government agency having
    jurisdiction, provided, however, that such person receiving a request, will provide written
    notice to the producing party before disclosure and as soon as reasonably possible, and, if
                                               4
      Case 1:24-cv-02639-LJL           Document 51        Filed 07/09/24       Page 5 of 7



    permitted by the time allowed under the request, at least 10 days before any disclosure. Upon
    receiving such notice, the producing party will have the right to oppose compliance with the
    subpoena, other compulsory process, or other legal notice if the producing party deems it
    appropriate to do so.

15. All persons seeking to file redacted documents or documents under seal with the Court shall
    follow Rule 2(F) of this Court’s Individual Practices in Civil Cases. No person may file with
    the Court redacted documents or documents under seal without first seeking leave to file such
    papers. All persons producing Confidential Information are deemed to be on notice that the
    Second Circuit puts limitations on the documents or information that may be filed in redacted
    form or under seal and that the Court retains discretion not to afford confidential treatment to
    any Confidential Information submitted to the Court or presented in connection with any
    motion, application or proceeding that may result in an order and/or decision by the Court
    unless it is able to make the specific findings required by law in order to retain the confidential
    nature of such material. Notwithstanding its designation, there is no presumption that
    Confidential Information will be filed with the Court under seal. The Parties will use their
    best efforts to minimize such sealing.

16. All persons are hereby placed on notice that the Court is unlikely to seal or otherwise afford
    confidential treatment to any Confidential Information introduced in evidence at trial or
    supporting or refuting any motion for summary judgment, even if such material has
    previously been sealed or designated as Confidential.

17. Any Party filing a motion or any other papers with the Court under seal shall also publicly
    file a redacted copy of the same, via the Court’s Electronic Case Filing system, that redacts
    only the Confidential Information itself, and not text that in no material way reveals the
    Confidential Information.

18. Each person who has access to materials that have been designated as Confidential shall take
    all due precautions to prevent the unauthorized or inadvertent disclosure of such material.

19. Any Personally Identifying Information (“PII”) (e.g., social security numbers, financial
    account numbers, passwords, and information that may be used for identity theft) exchanged
    in discovery shall be maintained by the persons who receive such information and are bound
    by this Protective Order in a manner that is secure and confidential. In the event that the
    person receiving PII experiences a data breach, she, he, or it shall immediately notify the
    producing party of the same and cooperate with the producing party to address and remedy
    the breach. Nothing herein shall preclude the producing party from asserting legal claims or
    constitute a waiver of legal rights or defenses in the event of litigation arising out of the
    receiving person’s failure to appropriately protect PII from unauthorized disclosure.

20. This Protective Order shall survive the termination of the litigation. Within 30 days of the
    final disposition of this action, all documents designated as “Confidential,” and all copies
    thereof, shall be promptly returned to the producing party, or, upon permission of the
    producing party, destroyed.

21. All persons subject to this Protective Order acknowledge that willful violation of this
                                                5
        Case 1:24-cv-02639-LJL          Document 51         Filed 07/09/24     Page 6 of 7



      Protective Order could subject them to punishment for contempt of Court. This Court shall
      retain jurisdiction over all persons subject to this Protective Order to the extent necessary to
      enforce any obligations arising hereunder or to impose sanctions for any contempt thereof.

       SO STIPULATED AND AGREED.

Dated: July 8, 2024
       New York, New York

AGUILAR BENTLEY LLC                                  GREENBERG TRAURIG, LLP

By: ___/s/ Anne Burton-Walsh                         By: ___/s/ Hal S. Shaftel
     Anna Aguilar                                          Hal S. Shaftel
     Anne Burton-Walsh                                     Daniel Friedman
5 Penn Plaza, 19th Floor                             One Vanderbilt Avenue
New York, New York 10001                             New York, New York 10017
(646) 648-0469                                       (212) 801-9200
aaguilar@aguilarbentley.com                          shaftelh@gtlaw.com
aburtonwalsh@aguilarbentley.com                      daniel.friedman@gtlaw.com

Attorneys for Plaintiff Adstra, LLC                  Attorneys for Defendants Kinesso, LLC, and
                                                     Acxiom LLC


       SO ORDERED:

       DATE: July 9, 2024


                                                                       LEWIS J. LIMAN
                                                                   United States District Judge




                                                 6
         Case 1:24-cv-02639-LJL       Document 51        Filed 07/09/24      Page 7 of 7




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ADSTRA, LLC,

                      Plaintiff,                   Case No.: 1:24-cv-02639-LJL
         v.
                                                   NON-DISCLOSURE
KINESSO, LLC and ACXIOM, LLC,                      AGREEMENT

                      Defendants.


LEWIS J. LIMAN, United States District Judge:

        I,                                     , acknowledge that I have read and understand
the Protective Order in this action governing the non-disclosure of those portions of Discovery
Material that have been designated as Confidential. I agree that I will not disclose such
Confidential Discovery Material to anyone other than for purposes of this litigation and that at
the conclusion of the litigation I will either return all discovery information to the party or
attorney from whom I received it, or upon permission of the producing party, destroy such
discovery information. By acknowledging these obligations under the Protective Order, I
understand that I am submitting myself to the jurisdiction of the United States District Court
for the Southern District of New York for the purpose of any issue or dispute arising hereunder
and that my willful violation of any term of the Protective Order could subject me to
punishment for contempt of Court.

Dated:




                                               7
